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2/10/23, 6:42 PM                                       Gmail - Fwd: Request for Report Webform (22-000450)



                                                                                                  Eric Witt <ericwitt34@gmail.com>



  Fwd: Request for Report Webform (22-000450)
  1 message

  Eric Witt <ericwitt34@gmail.com>                                                                       Sat, Jun 11, 2022 at 11:27 AM
  To: dije350@gmail.com


    ---------- Forwarded message ---------
    From: Caleb J. Connor <CalebConnor@bennettfirerescue.org>
    Date: Fri, Jun 3, 2022, 1:37 PM
    Subject: RE: Request for Report Webform (22-000450)
    To: <ericwitt34@gmail.com>
    Cc: Kendra Hawes <KendraHawes@bennettfirerescue.org>, Earl Cumley <EarlCumley@bennettfirerescue.org>, Timothy
    McCawley <TimothyMcCawley@bennettfirerescue.org>



    Mr. Witt,

    I appreciate you reaching out to us and I understand your concerns. In speaking to our office staff, it sounds like you
    have already been provided with a copy of our incident report related to this call which summarizes the incident
    details. That being said I will try to clarify some of your questions. I was the fire department officer who responded to
    this incident. I am a different staff member from the one that lives on the next street over in your neighborhood. That
    staff member is the Fire Chief and was not a part of this incident.



    On the date of the incident I was conducting a fire inspection along with one of our fire inspectors in the 100 block of
    S. 1st Street when we were flagged down my an adult male party in a vehicle who was not known to me. He was
    panicked an stated that two dogs were attacking another dog near the intersection of Centennial Drive and Coolidge
    Ct. He asked if someone could please call the police and assist as he feared that the dogs would kill the dog being
    attacked. I notified our fire dispatch center via radio and asked for law enforcement to respond.



    I responded to the area and found several groups of school aged children in the area walking home. Two different
    groups of school children approached me and flagged me down stating that the dogs fighting were in the backyard of
    your house. They stated that the fighting was so severe that they feared the dog would be killed and they feared for
    their safety as the dogs might push through the fence. I observed 3 dogs through the fence, one of which appeared to
    be bleeding and injured. This dog was in the corner of the yard against the fence and was being cornered there by the
    other two dogs which were still growling, barking, and exhibiting aggressive behavior to the injured dog. The injured
    dog was barely moving and not responsive to verbal commands. An Adams County Deputy arrived on scene and I
    gave him a report of my observations and the information from the witnesses. The kids on scene also re-irritated their
    witness accounts to him. Several attempts were made at the front door and windows to determine if anyone was
    home. We received no response and assumed the house to be vacant.



    At this time the deputy determined that an exigent circumstance existed in which the dog needed to be removed
    from the situation to prevent further harm or death. We also assumed that you as the owner of the dog would want
    the dog saved from harm and rendered care. The deputy tried to find a way into the enclosure through the yard but
    was unsuccessful. It was then decided to remove two fence slats closest to the injured dog to remove it to render aid.
    We did this successfully and replaced the fence slats to ensure the other two aggressive dogs were contained away
    from the public.
https://mail.google.com/mail/u/0/?ik=841be6a95b&view=pt&search=all&permthid=thread-f%3A1734545323063066308%7Cmsg-a%3Ar800855130159…   1/5
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    At this time the dog was removed through the hole to the sidewalk. The dog had visible injuries and significant
    bleeding. We rendered what aid we could until animal control arrived on the scene. The animal control officer was
    given statements of the incident by both the deputy and myself and took custody of the dog to take it to receive
    medical care.



    Beyond this information you would need to request further information from the Adams County Communications
    Center, Adams County Sherriff’s Department, and Adams County Animal Control. I cannot speak to any specifics on
    the care your dog would have received after the incident while in custody of animal control. I can however verify that
    the dog appeared to be seriously injured and in my opinion needed to be removed from the situation to prevent
    death or further harm.



    Again, I am sorry that you are dealing with this situation. We try to make the best decisions possible for the welfare of
    residents, animals, and property during any incident to which we respond. I hope this information is helpful for you to
    have a better understanding of what transpired. Beyond the information we provided, we cannot offer advice or
    speculation on the actions you should take regarding the disposition of your animals. We encourage you, if needed, to
    contact the other agencies listed below for additional information.



    Adams County Sherriff’s Department

    FOR GENERAL INFORMATION

    (303) 654-1850

    Email: communityconnections@adcogov.org

    FOR DISPATCH or NON-EMERGENCY

    (303) 288-1535



    Adams County Animal Control

    (303) 288-1535



         Bennett                 Caleb J. Connor
         Watkins Fire
      Rescue - Stage -           Battalion Chief - Fire Marshal
      Final JPEG
                                 Life Safety Division

                                 Bennett-Watkins Fire Rescue

    303-644-3572 - Headquarters / 720-893-7672 - Direct

    www.BennettFireRescue.org


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    From: Kendra Hawes <KendraHawes@BennettFireRescue.org>
    Sent: Friday, June 3, 2022 9:06 AM
    To: calebconnor@bennettfirerescue.org
    Subject: FW: Request for Report Webform (22-000450)


    From: Eric Witt [mailto:ericwitt34@gmail.com]
    Sent: Thursday, June 2, 2022 5:02 PM
    To: Kendra Hawes
    Subject: Re: Request for Report Webform (22-000450)



    Hello again,



       Can I also get the ADCOM transcripts of radio communication? Also, I heard the red SUV mentioned in the report is
    driven to and from the home by a bennet fire department employee, is a official fire department vehicle, that lives in my
    neighborhood and was the first on scene. The day of the incident I was trying to acquire information on what happened.
    The gentleman from Bennet fire and rescue said he had no information for me and that your employee was just "driving
    by". yet im receiving a report today. In addition, he told me to contact Adams county sheriff for info. So this is confusing to
    me, was the fire department employee an off duty citizen while driving by in a fire department vehicle and noticed dogs
    fighting and then flagged down another fire department employee? Then called it in or was it just the one fire department
    employee? that may line up with witness accounts before kids arrived. The transcript I have from the sheriff shows radio
    communication much earlier than the time on your report. This timeline is showing my dogs fighting for a known time of
    40 minutes before seizure. If that's what "still threatening" means. Needless to say that is an impossibly long period for a
    fight. Then my poor dog was taken because according to the report she was in immediate need of medical attention. I
    wasn't allowed to pick her up that night. She received very little if any medical treatment for 24 hours likely causing her
    severe infection. I'm told she is ok from animal control. Yet when i go to pick her up they suggest putting her down
    because she was close to death. The main injury on her doesn't appear to be a bite as well and ones that do look like
    bites are on top. like a larger trained attack dog would leave. I am going to level with you here. I want to know what
    happened. I don't know if i should put my dogs down or possibly finding a junk yard they can protect or work through it.
    Plus the fact the other two dogs that were the supposed aggressors were left on my property after it was already forcibly
    breached without a warrant. then taking the victim to doggy jail and the supposed perps are left free. There is more that
    don't line up but I think you get the point. I am leveling with you on this rather than taking a stricter path in hopes I'll get
    all the facts. So I can make an appropriate decision with my other dogs. I don't know if you're a dog person but dogs are
    family in my house. so these details are very important.

    What was the condition of my dog when driving by occurred? was she fighting back? barking yelping? what condition?

    What condition was she in before removal from my property? Were they still actively fighting? was she able to walk?
    barking? yelping? did she fight the sheriff and/or animal officer? was there difficulty taking her because she was fighting
    it? what condition was she in after removal? was she able to walk? did she get into the transport vehicle herself? Where
    was she observed bloody? was there injuries as a result from removing her from my property and/or after removal from
    my property to the time secured in the transport vehicle ? were the kids involved teasing my dogs to agitate them? is
    there anything else you can tell me so i don't have to dig for facts?

    I have a hard time believing this was all done by my dogs with facts I've gathered. I would like to know what happen so i
    can make a proper decision here with my 4 legged family members. Your department was the only one there for the entire
    duration of the incident.



    thanks for your prompt response




https://mail.google.com/mail/u/0/?ik=841be6a95b&view=pt&search=all&permthid=thread-f%3A1734545323063066308%7Cmsg-a%3Ar800855130159…                                       3/5
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2/10/23, 6:42 PM                                          Gmail - Fwd: Request for Report Webform (22-000450)
    On Thu, Jun 2, 2022 at 11:35 AM Kendra Hawes <KendraHawes@bennettfirerescue.org> wrote:

       Hello Mr. Witt,



       Attached is our Department’s report (NFIRS) regarding the incident at 170 Coolidge Ct. on 05/09/22.



       Please let me know if I can be of further assistance.



       Sincerely,




             Bennett       Kendra Hawes
             Watkins
          Fire Rescue -    Administrative Assistant
          Stage - Final
          JPEG             Bennett-Watkins Fire Rescue

       Phone: 303-644-3572 / Fax: 303-644-3401

       www.BennettFireRescue.org



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       attachments and notify the sender by reply email or contact the sender at the number listed.




       From: Bennett-Watkins Fire [mailto:no-reply@co.colorado.gov]
       Sent: Thursday, June 2, 2022 10:35 AM
       To: kendrahawes@bennettfirerescue.org
       Subject: Request for Report Webform



       Submitted on Thursday, June 2, 2022
       Submitted by: Anonymous

       Submitted values are:
       Contact Information
       ERIC WITT
       170 coolidge ct
       Bennett. 80102
       ericwitt34@gmail.com
       7204969912

       Type of Report
       Other

       Description of Report / Request
       requesting any and all records/information pertaining to "dogs were attacking another dog" on owners property
       requesting ADCOM records and any other records such as incident reports regarding property located at 170
https://mail.google.com/mail/u/0/?ik=841be6a95b&view=pt&search=all&permthid=thread-f%3A1734545323063066308%7Cmsg-a%3Ar800855130159…         4/5
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       COOLIDGE COURT BENNETT, CO 80102 ON THE DATE OF 05/09/2022
       MULTI-AGENCY ADCOM OTHER INCIDENCT # ACAC050922-0002250 (this can be used as ADCOM reference but
       not limited to it)
       also any information regarding the property/injured dogs occurred damage/injury condition/state before and after forced
       entry to the seizure. Any damage/injuries obtained during or after the extraction of seized property.




       Results of this submission may be viewed at https://bennettwatkinsfire.colorado.gov/obtaining-report

     5 attachments



                     image003.jpg
                     3K




                                   image001.jpg
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